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      JOSE MAGALLON-MONTES
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8
                                              UNITED STATES DISTRICT COURT
9
                                             EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           No. Cr. 1:09-cr-00272-AWI-BAM-12
12                              Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13              v.                                        U.S.C. § 3582(c)(2)
14    JOSE MAGALLON-MONTES,                               RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                              Defendant.
                                                          Judge: Honorable ANTHONY W. ISHII
16
17
                Defendant, JOSE MAGALLON-MONTES, by and through his attorney, Assistant
18
      Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19
      through its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:
20
                1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
21
      imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
22
      based on a sentencing range that has subsequently been lowered by the Sentencing Commission
23
      pursuant to 28 U.S.C. § 994(o);
24
                2.         On June 4, 2012, this Court sentenced Mr. Magallon-Montes to a term of 87
25
      months imprisonment;
26
                3.         His total offense level was 29, his criminal history category was I, and the
27
      resulting guideline range was 87 to 108 months;
28

      Stipulation and Order Re: Sentence Reduction           1
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1
                4.         The sentencing range applicable to Mr. Magallon-Montes was subsequently
2
      lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
3
      July 18, 2014, see 79 Fed. Reg. 44,973;
4
                5.         Mr. Magallon-Montes’ total offense level has been reduced from 29 to 27, and his
5
      amended guideline range is 70 to 87 months; and,
6
                6.         Accordingly, the parties request the Court enter the order lodged herewith
7
      reducing Mr. Magallon-Montes’ term of imprisonment to 70 months.
8
      Respectfully submitted,
9
      Dated: April 30, 2015                              Dated: April 30, 2015
10
      BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
11    United States Attorney                             Federal Defender
12
      /s/_Kathleen A. Servatius                          /s/ David M. Porter
13    KATHLEEN A. SERVATIUS                              DAVID M. PORTER
      Assistant U.S. Attorney                            Assistant Federal Defender
14
      Attorney for Plaintiff                             Attorney for Defendant
15    UNITED STATES OF AMERICA                           JOSE MAGALLON-MONTES
16
17                                                      ORDER

18              This matter came before the Court on the stipulated motion of the defendant for reduction

19    of sentence pursuant to 18 U.S.C. § 3582(c)(2).

20              The parties agree, and the Court finds, that Mr. Magallon-Montes is entitled to the benefit

21    Amendment 782, which reduces the total offense level from 29 to 27, resulting in an amended

22    guideline range of 70 to 87 months.

23              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2012 is

24    reduced to a term of 70 months.

25              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment

26    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above

27    reduction in sentence, and shall serve certified copies of the amended judgment on the United

28    States Bureau of Prisons and the United States Probation Office.

      Stipulation and Order Re: Sentence Reduction          2
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                Unless otherwise ordered, Mr. Magallon-Montes shall report to the United States
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      Probation Office within seventy-two hours after his release.
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      IT IS SO ORDERED.
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      Dated:       May 1, 2015
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                                                     SENIOR DISTRICT JUDGE
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      Stipulation and Order Re: Sentence Reduction      3
